                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )          No. 3:16-CR-11
 v.                                              )
                                                 )
 ROBERT YELVERTON,                               )        (PHILLIPS / SHIRLEY)
                                                 )
                       Defendant.                )
                                                 )

                ORDER OF CONTINUED DETENTION PENDING TRIAL

               This case came before the Court on August 26, 2016, for a detention hearing and

 a motion hearing on the Emergency Motion of the Defendant for a Detention Hearing, or for

 Temporary Release from Custody, and Other Relief [Doc. 98], filed on August 24, 2016.

 Assistant United States Attorney David C. Jennings appeared on behalf of the Government.

 Attorney Francis L. Lloyd, Jr., represented the Defendant, who was also present. In the motion,

 the Defendant asks for a detention hearing or for temporary release from custody to allow him to

 visit his family and attend the memorial service of his grandmother on August 27, 2016.

 Alternatively, the Defendant asks to attend the memorial service while remaining in the custody

 of the United States Marshal Service. At the hearing, the Government opposed release, arguing

 that no conditions exist that will reasonably assure the Defendant’s appearance in Court or the

 safety of the community. Moreover, the Government contends that the motion is moot, because,

 if the Court were to release the Defendant, he would immediately be taken into custody on state

 charges and would remain there through the memorial service.

               The Defendant is charged [Doc.1] with conspiring to distribute methamphetamine

 over a four-month period, possession of methamphetamine with intent to distribute, and




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 possession of a firearm in furtherance of a drug trafficking crime. The Defendant was brought

 into federal custody on a writ [Doc. 28] of habeas corpus ad prosequendum and came before the

 Court on March 21, 2016, for an initial appearance and arraignment. At that time, the Defendant

 waived [Doc. 41] his right to a detention hearing but reserved the right to move for a detention

 hearing at a later time. In the instant motion, the Defendant requests a detention hearing, which

 the Court held on August 26.

                At the hearing, the Defendant presented the testimony of his fiancée Kayla

 Allison. Ms. Allison stated that she and Defendant Yelverton have been together for four years

 and have two children, whose ages are two years and seven months. She stated that she and the

 Defendant plan to be married, but these plans are on hold pending the outcome of the

 Defendant’s charges. She stated that the Defendant’s grandmother Nancy Shepherd died on

 August 16, 2016, and her memorial service is scheduled for August 27, 2016, at 2:30 p.m. She

 said that the Defendant had a close relationship with Ms. Shepherd, who was paralyzed on her

 right side from a stroke. Ms. Allison said that before he was incarcerated, the Defendant would

 check on his grandmother daily, collect her laundry, and make sure she had food. Ms. Allison

 said that the Defendant is depressed about his grandmother’s passing and longs to be at the

 memorial service to support his mother, Penny Yelverton, who is the daughter of the deceased.

                Ms. Allison opined that if the Defendant was released to attend his grandmother’s

 memorial service, he would not hurt anyone in the community, nor would he run away. She said

 that he was not hurting others before he was incarcerated but, instead, had been depressed and

 turned to drugs like most people in their generation. Ms. Allison said that, at that time, she was

 pregnant and could not help the Defendant. She said that the Defendant is “in his right mind

 now” and would not flee because his mother needs him. Ms. Allison stated that the Defendant
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 has recently signed a plea agreement and that if he fled or violated the conditions of his release,

 he would ruin the opportunities afforded by the plea agreement. The Defendant’s mother and

 two young children were also in the courtroom to support him.

                Mr. Lloyd argued that the only relief requested by the Defendant was to be able to

 attend his grandmother’s memorial service. He contended that there are conditions that would

 assure the Court that the Defendant would not flee or endanger others, such as electronic

 monitoring. Alternatively, the Defendant seeks to attend the service while remaining in the

 custody of the United States Marshals. Mr. Lloyd argued that if the Defendant violated the

 conditions of release, he would lose his beneficial plea agreement and possibly gain additional

 criminal charges. He stated that this prospect would be a strong deterrent for the Defendant.

                AUSA Jennings argued that the Defendant’s lengthy criminal history weighed

 against release. He said the twenty-six-year-old Defendant had numerous instances of violating

 probation and failing to appear for court. Moreover, he stated that the Defendant has pending

 charges and detainers in two other jurisdictions. He said that even if the Court released the

 Defendant today, he would have to go into custody in Knox County. Mr. Jennings stated that it

 was impossible for the Defendant to appear and make bond on those charges before the

 memorial service the next day and that if released, he would simply be detained in another jail

 during the service. Finally, Mr. Jennings argued that while he understood the pain of losing a

 close relative, the cost to the taxpayers to have two deputy marshals transport and guard the

 Defendant on a weekend was prohibitive. He asked the Court to deny the Defendant’s motion.

                Following a detention hearing, a defendant may be detained pending trial if no

 condition or combination of conditions exist that will reasonably assure (1) the defendant’s

 appearance as required in court and (2) the safety of the community or any person in it. 18
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 U.S.C. § 3142(e). The Court finds that the instant case qualifies for the statutory rebuttable

 presumption that no condition or combination of conditions will reasonably assure the

 Defendant’s appearance or the safety of the community. See 18 U.S.C. 3142(e)(3). In this

 respect, the Court finds probable cause, in the form of the Indictment, to believe that the

 Defendant has committed an offense under the Controlled Substances Act for which he faces a

 maximum sentence of ten years or more. See 18 U.S.C. § 3142(e)(3)(A); United States v. Stone,

 608 F.3d 939, 947 (6th Cir. 2010); United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985)

 (holding that the indictment establishes probable cause for purposes of the rebuttable

 presumption). This presumption places the burden of production with the Defendant, while the

 Government retains the burden of persuasion. Stone, 608 F.3d at 947.

                In light of the testimony, the pretrial services report, and argument, the Court

 finds that the Defendant has not overcome the presumption that no conditions of release could

 reasonably assure the safety of the community or his appearance in court as required. In making

 this determination, the Court is required to considered the factors enumerated in 18 U.S.C. §

 3142(g). Factor one looks to the nature and circumstances of the offense charged, including

 whether it involves a controlled substance or a firearm. See 18 U.S.C. § 3142(g)(1). In the

 present case, the Defendant is charged with three qualifying offense: Conspiracy to distribute

 methamphetamine, distribution of methamphetamine, and possession of a firearm in furtherance

 of drug trafficking. This factor weights in favor of detention.

                Second, the Court finds that factor two, the weight of the evidence against the

 defendant, argues for detention in this case. With regard to the second factor, the Court initially

 observes that the offenses with which the Defendant is charged in Counts One and Five are

 among those crimes for which Congress has deemed the offender particularly dangerous or
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 particularly likely to flee. See Stone, 608 F.3d at 947 n.6 (noting that Congress has attached a

 presumption to those types of crimes, such as drug trafficking, which indicate a “strong

 probability” that the perpetrator will flee). In this case, the weight of the evidence that the

 Defendant will flee is great because the Defendant has warrants for failing to appear or violating

 his probation every year since 2010. In light of these warrants, the Court has no confidence that

 the Defendant would abide by any conditions it might impose.

                The third factor for the Court to consider examines the history and characteristics

 of the Defendant, including “the person’s character, physical and mental condition, family ties,

 employment, financial resources, length of residence in the community, community ties, past

 conduct, history relating to drug or alcohol abuse, criminal history, and record concerning

 appearance at court proceedings[.]” 18 U.S.C. § 3142(g)(3)(A). Other than his family ties, the

 Court heard no evidence that any of these characteristics weigh in favor of release.          The

 Defendant has a history of drug charges, and Ms. Allison testified that the Defendant turned to

 drugs because he was depressed. The Defendant’s criminal history weighs heavily in favor of

 detention: The Defendant has been arrested or warrants have been issued for him thirty-nine

 (39) times since 2009. The Defendant has been arrested seven times in the last two years. The

 Defendant was charged with evading arrest in 2009, pled guilty to evading arrest in 2012, and

 was again charged with evading arrest in 2015. The Court finds this criminal history reveals the

 Defendant is both a danger and a flight risk.

                The biggest impediment to the Defendant’s release are his serious pending

 charges in Knox, Loudon, and Roane Counties. The Defendant’s Knox County charges relate to




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 him possessing drugs and guns in a motel in February 2016.1          The Defendant is charged in

 Loudon County with drug and gun offenses occurring in December 2015. Finally, the Defendant

 has two outstanding warrants in Roane County for failure to appear on a 2014 case.

 Accordingly, the Court cannot release the Defendant to attend his grandmother’s memorial

 service, because he would have to be released to Knox County. If he was able to make bond on

 the Knox County charges, he would then be returned to Loudon County. If released there, he

 would possibly be returned to Roane County. The Court finds that the Defendant could not

 appear on his Knox and Loudon county offenses before the memorial service.

                Part (B) of the third factor looks to whether the defendant was on probation,

 parole, or some other type of release at the time of the present offense or arrest therefor. See 18

 U.S.C. § 3142(g)(3)(B).       While the Defendant certainly has pending charges in other

 jurisdictions, the Court cannot tell if he was on pretrial release for these offenses at the time he

 committed the instant offense or if he had simply never appeared on these other offenses.

 However, the Court has already discussed the Defendant’s long history of failing to appear for

 court and violating probation.

                Finally, with respect to the “nature and seriousness of the danger to any person or

 the community that would be posed by the person’s release,” the Court finds that the danger

 posed by the Defendant’s release would be significant. See 18 U.S.C. § 3142(g)(4). First, the

 Defendant is presumed to be a danger due to the serious drug charge he faces. Second, the

 Pretrial Services Report shows that the Defendant is the type of person who flees from arrest and

 who possesses drugs and firearms in a motel room, without regard to the danger to bystanders.

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  The undersigned observes that the Pretrial Services Report states that Ms. Allison was with the
 Defendant at the motel, the room was in her name, and a search of the room revealed marijuana,
 methamphetamine, twenty needles, and a handgun.
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                In sum, the Court finds that in weighing the section 3142(g) factors, the

 Defendant should be detained. The presumption itself reflects a congressional finding that drug

 traffickers pose a special flight risk and risk of danger to the community. See Stone, 608 F.3d at

 945 (observing that “the presumption reflects Congress’s substantive judgment that particular

 classes of offenders should ordinarily be detained prior to trial”). The Court finds that in this

 case, the Defendant did not successfully rebut the presumption with the evidence he presented.

 The Court finds by a preponderance of the evidence that the Defendant presents a flight risk.

 The Court also finds clear and convincing evidence that the Defendant presents a danger to the

 community.

                Moreover, the Court finds that the conditions suggested–that he attend his

 grandmother’s memorial service with Ms. Allison and participate in electronic monitoring—do

 not offer the Court any assurance that he would not commit other crimes or would appear as

 required. Ms. Allison was present when he possessed drugs and firearms in a motel room in

 February 2016. Additionally, Ms. Allison’s testimony suggested that the Defendant turned to

 drugs because he was depressed. The Court finds the instant circumstances could also incite the

 Defendant to abuse drugs. Finally, the conditions suggested by the Defendant cannot prevent

 him from going into custody in another jurisdiction. Examining the section 3142(g) factors, as it

 must, the Court can come to no other conclusion except that the Defendant does not qualify for

 release.

                As an alternative to his motion for release on conditions, the Defendant asks the

 Court to order the United States Marshals to transport him to his grandmother’s memorial service

 on August 27, at 2:30 p.m.      The Defendant has presented no information on whether the

 marshals have sufficient manpower to transport and secure the Defendant during the memorial
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 service, which occurs on a weekend. The Court observes that other recent requests for release

 have been denied due to a lack of manpower. Additionally, even in the best of circumstances,

 the Court does not permit defendants incarcerated on serious drug charges to attend services in

 the community because of the security risk involved.       The Court has on a few occasions

 permitted incarcerated defendants to be taken in the custody of the marshals for a private

 viewing of the body of an immediate relation, such as a child. Such a furlough is not requested

 or possible here.

                For these reasons, the Emergency Motion of the Defendant for a Detention

 Hearing, or for Temporary Release from Custody, and Other Relief [Doc. 98] was DENIED at

 the August 26 hearing. Because the Court has found that no condition or combination of

 conditions of release exist could reasonably assure the safety of the community or the

 Defendant’s appearance, the Defendant is ORDERED to remain in detention until his trial or

 other resolution of his case. The Defendant is committed to the custody of the Attorney General

 or his designated representative for confinement in a correction facility separate, to the extent

 practicable, from persons awaiting or serving sentences or being held in custody pending appeal.

 The Defendant shall be afforded a reasonable opportunity for private consultations with defense

 counsel.   On order of a court of the United States or on request of an attorney for the

 Government, the person in charge of the corrections facility shall deliver the Defendant to the

 United States Marshal for the purpose of an appearance in connection with a court proceeding.

        IT IS SO ORDERED.

                                                     ENTER, nunc pro tunc to August 26, 2016:

                                                     s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge

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